                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


BARBARA BROWN, Individually and as  )
Surviving Wife and as Next of Kin and as
                                    )
Personal Representative of the Estate of
                                    )
Harold Eugene Brown, Deceased,      )
                                    )
          Plaintiff,                )
                                    )
v.                                  )                  No. 3:06-CV-240
                                    )                  (VARLAN/GUYTON)
SUN HEALTHCARE GROUP, INC., et al., )
                                    )
          Defendants.               )


                                MEMORANDUM AND ORDER

        This civil action is before the Court pursuant to the Scheduling Order [Doc. 32 at ¶ 4(j)] for

resolution of a discovery dispute between the parties. Specifically, the parties ask the Court to

resolve the defendants’ objections to plaintiff’s discovery requests. The parties have briefed the

remaining issues [Docs. 46, 47, 48, 50] and the matter is now ripe for adjudication. The Court will

address each disputed discovery request in turn, and will preface each section by quoting the

discovery request at issue and the defendants’ response.

I.      Request for Production Nos. 9 and 19

Request No. 9:

        Copies of all incident reports and all documents pertaining to all investigation
        conducted by the Defendant concerning the occurrence in question undertaken after
        the incident, but prior to receiving written notice of the claim.

Defendants’ Response:

        Objection. This request is vague, ambiguous, and is subject to multiple
        interpretations. Moreover, it assumes that there was an “occurrence in question,”
        which is uncertain in meaning and not conceded by this Defendant. Furthermore,



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       this request seeks incident reports that are privileged and/or confidential under the
       Tennessee Peer Review Law of 1967, Tennessee Code Annotated § 63-6-219; the
       Health Data Reporting Act of 2002, Tennessee Code Annotated § 68-11-211 (and
       especially § 68-11-211(d)(1)(9)); Rule 1200-8-6-.11(f) of the Tennessee Standards
       for Nursing; 42 U.S.C. § 1395i-3(b)(1)(B) and § 1396r(b)(1)(B); and 42 C.F.R.
       483.75(o)(3). Any and all discoverable documentation responsive to this request, if
       any, will be found in the resident chart which has been produced.

Request No. 19:

       Copies of all incident reports prepared by any employee of the Defendants
       concerning HAROLD BROWN.

Defendants’ Response:

       Objection. This request is vague, ambiguous, and is subject to multiple
       interpretations. Furthermore, this request is overly broad, unduly burdensome, and
       seeks incident reports that are privileged and/or confidential under the Tennessee
       Peer Review Law of 1967, Tennessee Code Annotated § 63-6-219; the Health Data
       Reporting Act of 2002, Tennessee Code Annotated § 68-11-211 (and especially § 68-
       11-211(d)(1)(9)); Rule 1200-8-6-.11(f) of the Tennessee Standards for Nursing; 42
       U.S.C. § 1395i-3(b)(1)(B) and § 1396r(b)(1)(B); and 42 C.F.R. 483.75(o)(3). Any
       and all discoverable documentation responsive to this request, if any, will be found
       in the resident chart which has been or will be produced.

       In Request Nos. 9 and 19, Plaintiff seeks incident reports and all documents pertaining to all

investigations by Defendants concerning the incident in question. Defendants object to producing

this information, citing privilege under various sources, and further argues that the request is vague,

ambiguous, and subject to multiple interpretations.

       With respect to Defendants’ claim that the language of the requests is overly vague, the

Court finds that, given the limited time frame of Mr. Brown’s care by defendant Maplewood

Healthcare Center of Jackson, Inc. (“Maplewood”), coupled with the allegations in the complaint,

that the request is sufficiently clear. The plaintiff seeks any records relating to the alleged lapses

in the care of Mr. Brown, including any investigations into the same. Given that Mr. Brown was

a resident at Maplewood for a relatively short time, approximately three years, the Court does not

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find that a search of Defendants’ records for responsive material would be overbroad or unduly

burdensome.

        The Court turns next to the question of privilege. Defendants have raised several possible

sources of privilege. The Court addresses each of these privileges in turn.

        A.     Tennessee Peer Review Law of 1967, Tenn. Code Ann. § 63-6-219.

        The first source of privilege cited by Defendants is the Tennessee Peer Review Law of 1967,

codified at Tennessee Code Annotated § 63-6-219 (the “TPRL”). The TPRL provides, in pertinent

part, that:

               All information, interviews, incident or other reports, statements,
               memoranda or other data furnished to any committee as defined in
               this section, and any findings, conclusions or recommendations
               resulting from the proceedings of such committee are declared to be
               privileged. All such information, in any form whatsoever, so
               furnished to, or generated by, a medical peer review committee, shall
               be privileged. The records and proceedings of any such committees
               are confidential and shall be used by such committee, and the
               members thereof only in the exercise of the proper functions of the
               committee, and shall not be public records nor be available for court
               subpoena or for discovery proceedings. . . . Nothing contained in this
               subsection (e) applies to records made in the regular course of
               business by a hospital or other provider of health care and
               information, documents or records otherwise available from original
               sources are not to be construed as immune from discovery or use in
               any civil proceedings merely because they were presented during
               proceedings of such committee.

Tenn. Code Ann. § 63-6-219(e). In interpreting this portion of the statute, the Tennessee Supreme

Court, quoting with approval an opinion of the South Carolina Supreme Court, held that:

               [t]he confidentiality statute provides that documents otherwise
               available from the original source do not become privileged merely
               because they are presented to the committee. We interpret the
               “otherwise available” language to mean that information that is
               available from a source other than the committee does not become
               privileged simply by being acquired by the review committee.

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               Accordingly, the statute does not protect information if obtained from
               alternative sources. Hence, the plaintiff seeking discovery cannot
               obtain documents which are available from the original source
               directly from the hospital committee, but may seek them from
               alternative sources.

Stratienko v. Chattanooga-Hamilton County Hosp. Auth., 226 S.W.3d 280, 285-286 (Tenn. 2007)

(quoting McGee v. Bruce Hosp. Sys., 312 S.C. 58, 439 S.E.2d 257, 260 (S.C. 1993)). Thus, reports

prepared in the normal course of business by Defendants relating to the care of Mr. Brown are not

protected merely because they have been provided to a peer review committee. Rather, the copies

of the documents in the possession of a peer review committee are protected, but the documents may

still be obtained from the original source, the Defendants. Accordingly, to the extent that some

alternate source for responsive documents exists, the documents are not protected under the TPRL

and it cannot bar discovery in this matter.

       B.      Health Data Reporting Act of 2002, Tenn. Code Ann. § 68-11-211
               and Rule 1200-8-6-.11(f) of the Tennessee Standards for Nursing

       Defendants next cite Tennessee’s Health Data Reporting Act of 2002 (the “HDRA”),

codified at Tennessee Code Annotated § 68-11-211.1 The HDRA provides, in pertinent part, that:

               Every facility shall report unusual events, and certain other defined
               incidents, to the department. . . . An unusual event report form shall
               be developed by the department, in a format similar to the format
               utilized by the joint commission on accreditation of healthcare
               organizations (JCAHO), and shall be utilized for reporting the event
               or incident. The event report and the corrective action report
               reviewed or obtained by the department pursuant to this section and
               amendments to the reports, shall be confidential and not subject to
               discovery, subpoena or legal compulsion for release to any person or


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         Defendants also cite to the regulations found at Tenn. Comp. R. & Regs. 1200-8-
6.11(f). The language of the regulations mirrors that under the HDRA, and thus the Court need
not address the regulations separately, instead considering both the relevant portion of the
HDRA and the cited Tennessee regulation together.

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               entity, nor shall the report be admissible in any civil or administrative
               proceeding, other than a disciplinary proceeding by the department
               or the appropriate regulatory board. The report is not discoverable or
               admissible in any civil or administrative action, except that
               information in any such report may be transmitted to an appropriate
               regulatory agency having jurisdiction for disciplinary or license
               sanctions against the impacted facility. However, the department
               must reveal, upon request, its awareness that a specific event or
               incident has been reported. The affected patient and the patient’s
               family, as may be appropriate, shall also be notified of the event or
               incident by the facility.

Tenn. Code Ann. § 68-11-211(d)(1). Thus, under the HDRA, any event report, corrective action

report, or amendments to either, filed with the Tennessee Department of Health are confidential and

not subject to discovery. However, while any actual event report, corrective action report, and

amendments to either, are protected, only those actual, specified documents are protected. Any

internal incident reports or other documents prepared by the Defendants relating to Mr. Brown are

not protected under the HDRA. Additionally, Defendants are required under the HDRA to notify

an “affected patient and the patient’s family” of any “events” or “incidents.”

       Accordingly, the Court finds that any incident reports, corrective action reports, or

amendments to either, filed with the Tennessee Department of Health are protected under the

HDRA, but only those specific documents. Thus, the Court finds that the HDRA cannot serve to

protect any other documents not specifically described in the HDRA, such as internal documents

or reports prepared by Defendants. To clarify, the Court finds that a report filed under the HDRA

is privileged, but if, for example, a nursing home were to prepare its own internal report, and then

later prepared a second report to submit to the HDRA, only the second report would be protected

under the HDRA.




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       C.       42 U.S.C. § 1395i-3(b)(1)(B) and § 1396r(b)(1)(B); 42 C.F.R. 483.75(o)(3)

       The next source of privilege cited by Defendants is found in the Social Security Act (the

“SSA”).2 The SSA states, in pertinent part, that:

               A skilled nursing facility must maintain a quality assessment and
               assurance committee, consisting of the director of nursing services,
               a physician designated by the facility, and at least 3 other members
               of the facility's staff, which (i) meets at least quarterly to identify
               issues with respect to which quality assessment and assurance
               activities are necessary and (ii) develops and implements appropriate
               plans of action to correct identified quality deficiencies. A State or
               the Secretary may not require disclosure of the records of such
               committee except insofar as such disclosure is related to the
               compliance of such committee with the requirements of this
               subparagraph.

42 U.S.C. § 1395i-3(b)(1)(B) and § 1396r(b)(1)(B).

       The Court is aware of only one other court that has construed the relevant portion of the

SSA, the Supreme Court of Missouri in State ex rel. Boone Retirement Ctr. v Hamilton, 946 SW2d

740 (Mo. 1997), though a New York court has referenced the Boone Retirement Center opinion.

See Hale v. Odd Fellow & Rebekah Health Care Facility, 188 Misc. 2d 498, 499 (N.Y. Misc. 2001)

(referencing the Supreme Court of Missouri as the only court to construe the relevant portion of the

SSA, but finding that the relevant privilege was waived by the inclusion of third parties during the

deliberation of the committee). In Boone Retirement Center, the court held that:

               The statute limits the scope of the privilege to “records of such
               committee.” This statutory privilege is exceedingly narrow. It
               protects the committee’s own records -- its minutes or internal
               working papers or statements of conclusions -- from discovery. No


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        Defendants also cite to the regulations found at 42 C.F.R. 483.75(o)(3). The language of
the regulations mirrors that under the SSA, and thus the Court need not address the regulations
separately, instead considering both the relevant portion of the SSA and the cited federal
regulation together.

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               honest reading of the statute, however, can extend the statute’s
               privilege to records and materials generated or created outside the
               committee and submitted to the committee for its review.

Boone Retirement Center, 946 SW2d at 743.

       The Court finds the reasoning in Boone Retirement Center persuasive and adopts it herein.

Accordingly, the Court finds that the privilege created under the SSA applies only to the

committee’s own records, including its minutes, internal working papers, and statements of

conclusions, not to documents generated outside the committee and submitted to the committee for

its review. Accordingly, the Court finds that any internal committee documents relating to Mr.

Brown are not discoverable, but documents prepared by Defendant and submitted to such a

committee are not protected under this limited privilege and are discoverable.

       D.      Privilege Log

       Defendants have provided Plaintiffs with a Privilege Log on this issue. [Doc. 101] The

Privilege Log identifies seventeen incident reports, but does not indicate the circumstances behind

the creation of each (such as whether the report is one falling under the HDRA, or is only an internal

report). Defendants’ objections are OVERRULED in part, to the extent that Defendants are

DIRECTED to review each of the documents identified on the Privilege Log and to produce those

reports which do not qualify for the limited privileges the Court identified above. Such documents

shall be produced within ten (10) days of the entry of this Order.       Defendants’ objections are

SUSTAINED in part, to the extent that Defendants are further DIRECTED to produce an amended

Privilege Log identifying those documents that they claim satisfy one of the privileges discussed

above, and to provide sufficient identifying information to indicate how each document qualifies

under the claimed privilege (such as an indication that the report was submitted to the Tennessee


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Department of Health pursuant to the HDRA). Additionally, given the HDRA’s family reporting

requirement, Defendants are DIRECTED, if they have not already done so during the course of this

litigation, to provide to Plaintiff within ten days of the entry of this Order a copy of the notice

provided to the patient or family for each such “event” or “incident” related to Mr. Brown and to

include on the amended Privilege Log an entry for each incident report, corrective action report, or

amendment to either, filed with the Tennessee Department of Health in relation to Mr. Brown.

II.      Request for Production No. 32

Request No. 32:

         Copies of all disciplinary actions or letters of reprimand taken by Defendants against
         any employee of the Defendants pertaining to the care and treatment of HAROLD
         BROWN from October 2003, through October 2006.

Defendants’ Response:

         Objection. This request is vague, ambiguous, and is subject to multiple
         interpretations. Furthermore, this request is overly broad, unduly burdensome, and
         seeks incident reports that are privileged and/or confidential under the Tennessee
         Peer Review Law of 1967, Tennessee Code Annotated § 63-6-219; the Health Data
         Reporting Act of 2002, Tennessee Code Annotated § 68-11-211 (and especially § 68-
         11-211(d)(1)(9)); Rule 1200-8-6-.11(f) of the Tennessee Standards for Nursing and
         42 U.S.C. § 1395i-3(b)(1)(B) and § 1396r(b)(1)(B). Moreover, Defendant objects
         to providing personal information relating to its employees and former employees.
         The data sought by this request regarding these persons are confidential and private
         to those individuals. Plaintiff has shown no compelling reason at this stage of the
         litigation why the rights of privacy of these individuals should be overridden by
         Plaintiff’s rights to reasonable discovery. See, e.g., Johnson v. Nissan North
         America, 146 S.W.3d 600 (Tenn. Ct. App. 2004), and the authorities cited therein,
         particularly Miller v. Federal Express Corp., 186 F.R.D. 376, 384 (W.D. Tenn.
         1999).

         In Request No. 32, Plaintiff seeks information relating to any disciplinary action taken

against employees of the Defendants relating to the care and treatment of Mr. Brown. Defendants

object, arguing that the request is overbroad, unduly burdensome, vague, and potentially privileged.


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Defendants further argue that the information is confidential and that Plaintiff has not established

a compelling reason for the production of such documents.

       The Court addressed the privilege issue above. With respect to Defendants’ claim that the

request is vague and overbroad, the Court disagrees. The Court finds that the scope of the request,

focused as it is on employees who were disciplined because of actions related to the care of Mr.

Brown, the subject of the instant litigation, is neither overbroad nor vague. Additionally, given that

Mr. Brown is deceased and suffered from dementia prior to his death, the Court finds that Plaintiff

has established a pressing need for this information. Accordingly, Defendants’ objection to Request

No. 33 is OVERRULED, subject to the Court’s ruling above on the issue of privilege. Defendants

are DIRECTED to provide the requested materials within twenty (20) days of the entry of this

Order. Given the confidential nature of such documents, the documents shall be produced in

accordance with the Consent Order Regarding Privacy and Confidentiality [Doc. 55] entered in this

case. Should any documents responsive to this request fall under the scope of one of the privileges

identified above, Defendants are DIRECTED to include such document on their amended Privilege

Log, identifying what privilege is claimed and providing the information necessary to support such

a claim.

III.   Request for Production No. 33

Request No 33:

       Copies of all letters of reprimand or disciplinary actions taken by Defendants against
       any employee pertaining to improper resident care at MARSHALL C. VOSS
       REHABILITATION CENTER from October 2003, through October 2006.




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Defendants’ Response:

       Objection. This request seeks information that is neither relevant nor reasonably
       calculated to lead to admissible evidence in this civil action. In addition, this request
       is vague, ambiguous, and is subject to multiple interpretations. Furthermore, this
       request is overly broad, unduly burdensome, and seeks incident reports that are
       privileged and/or confidential under the Tennessee Peer Review Law of 1967,
       Tennessee Code Annotated § 63-6-219; the Health Data Reporting Act of 2002,
       Tennessee Code Annotated § 68-11-211 (and especially § 68-11-211(d)(1)(9)); Rule
       1200-8-6-.11(f) of the Tennessee Standards for Nursing and 42 U.S.C. § 1395i-
       3(b)(1)(B) and § 1396r(b)(1)(B). Moreover, Defendant objects to providing personal
       information relating to its employees and former employees. The data sought by this
       request regarding these persons are confidential and private to those individuals.
       Plaintiff has shown no compelling reason at this stage of the litigation why the rights
       of privacy of these individuals should be overridden by Plaintiff’s rights to
       reasonable discovery. See, e.g., Johnson v. Nissan North America, 146 S.W.3d 600
       (Tenn. Ct. App. 2004), and the authorities cited therein, particularly Miller v. Federal
       Express Corp., 186 F.R.D. 376, 384 (W.D. Tenn. 1999).

       In Request No. 33, Plaintiff seeks information related to any disciplinary action of any

employee relating to improper resident care during a period of time coinciding with Mr. Brown’s

residence at Maplewood. Defendants object, arguing that the request is irrelevant, vague, overbroad,

unduly burdensome, and potentially privileged. Defendants further argue that the information is

confidential and that Plaintiff has not established a compelling reason for the production of such

documents.

       The Court addressed the privilege issue above. With respect to Defendants’ other objections,

the Court finds this request to be overbroad and unduly burdensome. Given the much greater scope

of this request, as opposed to the narrow scope of Request No. 32 which relates only to individuals

disciplined in relation to the care of Mr. Brown, the Court finds that Plaintiff has not, at this time,

made a sufficient showing to support such a broad request of confidential information.

Accordingly, Defendants’ objection is SUSTAINED with respect to Request No. 33.




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IV.    Request for Production No. 35

Request No 35:

       If you claim that the incident report is privileged, we would like at very minimum,
       the name and phone number of the employee, date, and time that this incident took
       place.

Defendants’ Response:

       Objection. This request is vague, ambiguous, and is subject to multiple
       interpretations. Moreover, the request is argumentative and assumes that an
       “incident took place,” which is uncertain and specifically denied by this Defendant.
       Without waiving these objections, Plaintiff can ascertain who worked during Harold
       Eugene Brown’s residency and who provided care to Harold Eugene Brown from the
       medical chart and other documents.

       Request No. 35 represents a request in the alternative, with Plaintiff seeking contact

information of any employees involved in events described in privileged, and thus undiscoverable,

incident reports. Defendants object, arguing that the request is vague and assumes that incidents

took place, which Defendants deny. The Court addressed the issue of privilege above. In light of

that ruling, Defendants’ objection is SUSTAINED to the extent that Defendants need not provide

the requested information in relation to incident reports which Defendants produce in accordance

with the Court’s ruling above, and OVERRULED to the extent that Defendants shall provide the

requested information for employees, or what information Defendants possess as to former

employees, related to the events described in any incident reports which Defendants contend fall

within the limited privileges the Court described above. The defendants shall provide such

information within ten (10) days of the entry of this Order.




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V.      Conclusion

        Accordingly, for the reasons set forth above, Defendants’ objections are SUSTAINED in

part, OVERRULED in part, and Defendants are DIRECTED to comply with this Order as set

forth herein.

                IT IS SO ORDERED.

                                                  ENTER:


                                                       s/ H. Bruce Guyton
                                                  United States Magistrate Judge




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